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                                UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF SOUTH CAROLINA

IN RE:                                                  ) Case No. 14-04844-dd
                                                        )
Ralph B. Shealy                                         )
                                                        ) Chapter 13
                                 Debtor(s).             )
                                                        )

                                 ORDER AUTHORIZING SALE OF ASSET

         This proceeding comes before the court on the application of the debtor for authority to sell the
estate's interest in the following vehicles for the following minimum price:
                 2005 Chrysler                                         $12,500
                 2003 Dodge Dakota                                     $ 5,700
                 1964 Ford Thunderbird                                 $ 4,000
                 1973 Dodge Dart                                       $   500
                 1965 Plymouth Belvedere                               $ 1,000
                 1972 AMC Ambassador station wagon                     $   500
                 1982 Chrysler Imperial                                $ 1,500
                 1977 Chrysler Newport                                 $ 1,800
         All parties in interest have been notified of the intention to sell said property. The debtor has
represented to the court that such sale is in the best interest of creditors of the estate. It is therefore,
         ORDERED, ADJUDGED, AND DECREED, that the debtor is authorized to sell and to convey
the estate's interest in the above-described property. Any funds, less the costs of the sale, shall be paid to
the Trustee.
         This authorization expires 60 days following entry of this Order. The closing agent is directed to
provide a copy of the closing statement to the trustee.
